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 1   WANGER JONES HELSLEY PC
     265 E. River Park Circle, Suite 310
 2   Fresno, California 93720
     Telephone: (559) 233-4800
 3   Facsimile: (559) 233-9330
 4   Peter M. Jones, Esq. SBN# 105811
 5   Attorneys for:       Defendant, LOUIE CALLES

 6
 7                               UNITED STATES DISTRICT COURT

 8                              EASTERN DISTRICT OF CALIFORNIA

 9
10   UNITED STATES OF AMERICA,                          Case No.: 1:13 CR00362 AWI-BAM
                                                        (007)
11                    Plaintiff(s),
                                                        STIPULATION TO MODIFY
12          v.                                          PRETRIAL RELEASE
     LOUIE CALLES,                                      CONDITIONS; DECLARATION OF
13
                                                        PETER M. JONES; AND
14                    Defendant(s).                     ORDER THEREON

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18
                      Defendant, LOUIE CALLES, by and through counsel, Peter M. Jones, and
19
     Plaintiff, UNITED STATES OF AMERICA, by and through counsel, Benjamin B. Wagner
20
     hereby stipulate as follows:
21
                      That the condition of Pretrial Release regarding Defendants’ travel be modified
22
     to reflect the following: Defendant may travel to the State of Colorado to visit his daughter,
23
     Nicole Calles, and granddaughter. Defendant is to leave no earlier than Friday, May 16, 2014,
24
     and return to Fresno no later than Sunday, June 1, 2014; all other conditions of release, not in
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     conflict, shall remain in full force and effect.
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 1                             DECLARATION OF PETER M. JONES

 2          I, Peter M. Jones, declare as follows:

 3          1.      I am an attorney admitted to practice before this court, and am counsel of record

 4   for Louie Calles, a Defendant in the above-entitled action.

 5          2.      Mr. Calles informed me that he would like to visit his daughter, Nicole Calles,

 6   and his newborn granddaughter in Colorado.

 7          3.      Mr. Calles currently resides in Fresno, CA and is being supervised by pre-trial

 8   release. His daughter, Nicole Calles, resides in Centennial, Colorado.

 9          4.      I have contacted Pretrial Release Officer, Jacob Scott, and informed him of Mr.

10   Calle’s desire to travel to Colorado. Officer Scott informed me that he had no opposition to

11   Mr. Calle’s traveling to Colorado as stipulated.

12          5.      I have contacted AUSA Grant Rabenn, and he has agreed to stipulate to the

13   Defendant’s travel request provided there are specific departure and return dates.

14                  I declare under penalty of perjury that the foregoing is true and that this

15   declaration was executed in Fresno, California, on April 25, 2014.

16                                                   ____/s/ Peter M. Jones_________
                                                            Peter M. Jones
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     Case 1:13-cr-00362-AWI-BAM Document 135 Filed 04/28/14 Page 3 of 3



 1   Dated: April 25, 2014                    Respectfully submitted,

 2
                                              By: /s/ PETER M. JONES_________________
 3                                               PETER M. JONES, Attorney for
                                                 Defendant, LOUIE CALLES
 4
 5   Dated: April 25, 2014                    BENJAMIN B. WAGNER, U.S. Attorney
                                              UNITED STATES ATTORNEY’S OFFICE
 6
 7
                                              By: /s/ GRANT RABENN_______________
 8                                                    GRANT RABENN,
                                                      Assistant U.S. Attorney
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10
11                                              ORDER
12
                    Having reviewed the above Stipulation and Good Cause Appearing, it is hereby
13
     ordered that the travel condition of Pretrial Release regarding Defendant, Louie Calles, be
14
     modified as follows: He may travel to the State of Colorado to visit his daughter, Nicole
15
     Calles and his granddaughter. He will leave no earlier than Friday, May 16, 2014 and return to
16
     Fresno, CA no later than Sunday, June 1, 2014. All other conditions of release, not in conflict,
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     shall remain in full force and effect.
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19   IT IS SO ORDERED.

20      Dated:     April 28, 2014                            /s/ Barbara A. McAuliffe              _
21                                                    UNITED STATES MAGISTRATE JUDGE

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